     Case 2:00-cr-80541-GCS ECF No. 367, PageID.637 Filed 03/03/14 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,                   CASE NO. 00-CR-80541

        v.                                        HON. GEORGE CARAM STEEH

YUK RUNG TSANG (D-1),

                     Defendant.
                                    /

              OPINION AND ORDER DENYING DEFENDANT’S MOTION
                    FOR REDUCTION OF SENTENCE (Doc. 361)

        This matter comes before the court on Defendant Yuk Rung Tsang’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). Because this court does

not have jurisdiction to review a decision by the Bureau of Prisons (“BOP”) not to seek a

compassionate release for an inmate, Defendant’s motion shall be DENIED.

I.      FACTS

        Defendant is 70 years old and a Chinese national. He has multiple convictions

for heroin trafficking and began serving a 30 year prison sentence on June 10, 2002.

Shortly after his March, 2013 transfer to the Federal Medical Facility in Butner, North

Carolina (“FMC Butner”), doctors determined Defendant had advanced liver disease

with probable cancer. Defendant requested that the Federal Bureau of Prisons (“BOP”)

move for his compassionate release in federal court. On May 17, 2013, the BOP’s

Reduction in Sentence Committee recommended that Defendant’s sentence not be

reduced, based on his “past criminal history and continued risk to the community,” and


                                            -1-
      Case 2:00-cr-80541-GCS ECF No. 367, PageID.638 Filed 03/03/14 Page 2 of 3




the warden concurred. On January 2, 2014, doctors reported Defendant’s prognosis is

“grave” and that he is “approaching the terminal cliff.”

II.      ANALYSIS

         The BOP may seek the reduction of a prisoner’s sentence in federal court

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). The statute states, “The court may not modify

a term of imprisonment once it has been imposed except that…the court, upon motion

of the Director of the Bureau of Prisons, may reduce the term of imprisonment…” 18

U.S.C. § 3582(c)(1)(A) (emphasis added).

         The Sixth Circuit has determined that a federal court lacks jurisdiction to review a

decision by the BOP not to seek a compassionate release for an inmate under §

3582(c)(1)(A). Crowe v. United States, 430 F. App’x 484, 485 (6th Cir. 2011); see also

Engle v. United States, 26 F. App’x 394, 397 (6th Cir. 2001) (“The district court lacked

jurisdiction to sua sponte grant compassionate release. A district court may not modify a

defendant’s federal sentence based on the defendant’s ill health, except upon a motion

from the Director of the Bureau of Prisons.”). Other circuits have determined the same.

See Fernandez v. United States, 941 F.2d 1488, 1493 (11th Cir. 1991); Simmons v.

Christensen, 894 F.2d 1041, 1043 (9th Cir. 1990); Turner v. United States Parole

Comm’n, 810 F.2d 612, 615 (7th Cir. 1987).

         The relevant section of the BOP’s Program Statement, entitled “Denial of

Request,” provides no standards or procedures that the BOP must follow in determining

whether to deny a request for reduction of sentence, leaving it unlimited discretion. 28

C.F.R. § 571.63. As such, this court does not have jurisdiction to review the BOP’s

decision not to move for a reduction of Defendant’s sentence.

                                              -2-
   Case 2:00-cr-80541-GCS ECF No. 367, PageID.639 Filed 03/03/14 Page 3 of 3




III.   CONCLUSION

       For the foregoing reasons, Defendant’s motion (Doc. 361) is DENIED.

       IT IS SO ORDERED.

Dated: March 3, 2014
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                  March 3, 2014, by electronic and/or ordinary mail and also on
                  Yuk Rung Tsang #37357-053, FMC Butner, Federal Medical
                           Center, P.O. Box 1600, Butner, NC 27509.

                                        s/Barbara Radke
                                          Deputy Clerk




                                              -3-
